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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


  TEVA BRANDED PHARMACEUTICAL
  PRODUCTS R&D, INC., and NORTON                         Consolidated Civil Action No. 2:20-cv-10172
  (WATERFORD) LTD.,                                                     (JXN)(MAH)

                          Plaintiffs,                              ORDER GRANTING
                                                                PRO HAC VICE ADMISSION
                          v.

  CIPLA LTD., AUROBINDO PHARMA LLC,                                    Filed Electronically
  AUROBINDO PHARMA USA, INC., and
  AUROLIFE PHARMA LLC,

                          Defendants.



          THIS MATTER having been opened to the Court by Walsh Pizzi O’Reilly Falanga LLP,

  counsel for Plaintiffs Teva Branded Pharmaceutical Products R&D, Inc. and Norton (Waterford)

  Ltd. (collectively, “Teva”), upon application for the entry of an Order admitting Benjamin M.

  Greenblum of the law firm Williams & Connolly LLP pro hac vice; and Defendants Cipla Ltd.,

  Aurobindo Pharma LLC, Aurobindo Pharma USA, Inc., and Aurolife Pharma LLC, through

  counsel, having consented to said application; and the Court having considered all papers filed in

  support of said application; and for good cause having been shown;

                         11th
          IT IS on this ______day     August
                                  of ___________, 2022,

          ORDERED that Teva’s application for the pro hac vice admission of Benjamin M.

  Greenblum is hereby GRANTED; and it is further

          ORDERED that Benjamin M. Greenblum is hereby admitted pro hac vice pursuant to

  Local Civil Rule 101.1 for the sole purpose of entering an appearance on behalf of and representing

  Teva in this matter; and it is further
Case
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          ORDERED that Benjamin M. Greenblum shall abide by the disciplinary rules of this

  Court; and it is further

          ORDERED that Benjamin M. Greenblum shall, for the duration of the time that he serves

  as counsel pro hac vice in this matter, make annual payments to the New Jersey Lawyers’ Fund

  for Client Protection as provided by New Jersey Court Rule 1:28-2(a) and shall pay the sum of

  $150.00 to the Clerk of the United States District Court in accordance with Local Civil Rule

  101.1(c)(3); and it is further

          ORDERED that Benjamin M. Greenblum shall notify the Court immediately of any

  disciplinary matter affecting his standing at the bar of any jurisdiction; and it is further

          ORDERED that Benjamin M. Greenblum shall have all pleadings, briefs and other papers

  filed with the Court in this matter signed by Liza M. Walsh or her partners or associates as the

  attorneys of record in this matter pursuant to Local Civil Rule 101.1(c)(3).




                                                 /s Michael A. Hammer
                                                 _____________________________________
                                                 HON. MICHAEL A. HAMMER, U.S.M.J.




                                                     2
